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 1                                                                         Honorable James L. Robart
                                                                        Honorable Michelle L. Peterson
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON

 8    WILFREDO FAVELA AVENDAÑO, et
      al.,                                                  Case No. 20-cv-700-JLR-MLP
 9
                     Petitioners-Plaintiffs,                 ORDER TO MODIFY REPORTING
10                                                           ORDER (DKT. 83)
                             v.
11
      NATHALIE ASHER, Director of the Seattle
12    Field Office of U.S. Immigration and Customs
      Enforcement, et. al.,
13
                     Respondents-Defendants.
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15          Having considered the parties Stipulated Motion to Modify Reporting Order (Dkt. 83),

16   the Court GRANTS the motion. In accordance with the motion and this Court’s prior reporting

17   order, the Court orders the following:

18      1. Respondents will continue to inform Petitioners and the Court as soon as practicable but

19          within at least 24 hours after learning that any individual physically present at the

20          NWIPC tests positive for or is otherwise diagnosed with COVID-19.

21      2. Federal Respondents will inform Petitioners and the Court within one business day if a

22          NWIPC detainee is hospitalized or dies after testing positive for, is diagnosed with, or has

23          a suspected case of COVID-19. “Hospitalization” shall include any instance in which a

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25   ORDER TO MODIFY REPORTING ORDER - 1                  NORTHWEST IMMIGRANT RIGHTS PROJECT
     Case No. 2:20-cv-700-JLR-MLP                                           615 2nd Ave Ste. 400
                                                                               Seattle, WA 98144
                                                                               Tel: 206-957-8611
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 1         detainee is sent to the hospital for further tests or monitoring because of COVID-19

 2         symptoms and does not require formal admission to the hospital. This reporting

 3         requirement does not apply to cases medically unrelated to COVID-19.

 4      3. In addition, Federal Respondents will provide class counsel within one business day of a

 5         hospitalization or death referenced in point 2 the name and A-number of any NWIPC

 6         detainee who is a class member and has been hospitalized or has died as provided in point

 7         2. In that same notice, Federal Respondents will also inform class counsel of the class

 8         member’s last known contact information if the class member has been released from

 9         ICE’s custody before Federal Respondents provided the notice.

10      4. Upon any notice to the Court outlined above, Federal Respondents will inform the Court

11         of the current number of people detained at the Northwest ICE Processing Center.

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           Dated this 3rd day of August, 2021.

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14                                                      MICHELLE L. PETERSON
                                                        United States Magistrate Judge
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25   ORDER TO MODIFY REPORTING ORDER - 2                NORTHWEST IMMIGRANT RIGHTS PROJECT
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 2
     Presented this 2nd day of August, 2021.
 3
       s/ Matt Adams                                s/ David C. Fathi
       Matt Adams, WSBA No. 28287                   David C. Fathi, WSBA No. 24893**
 4
       matt@nwirp.org                               dfathi@aclu.org
 5     s/ Aaron Korthuis                            s/ Eunice H. Cho
       Aaron Korthuis, WSBA No. 53974               Eunice H. Cho, WSBA No. 53711**
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 7     s/ Margot Adams                              Joseph Longley†
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     †Admitted pro hac vice; not admitted in DC; practice limited to federal courts
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                                          Attorneys for Plaintiffs
23

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25   ORDER TO MODIFY REPORTING ORDER - 4      NORTHWEST IMMIGRANT RIGHTS PROJECT
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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on August 2, 2021, I electronically filed the foregoing and attached

 3   declaration with the Clerk of the Court using the CM/ECF system, which will send notification

 4   of such filing to those attorneys of record registered on the CM/ECF system.

 5          DATED this 2nd day of August, 2021.

 6          s/ Aaron Korthuis
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 8          Seattle, WA 98104
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25   ORDER TO MODIFY REPORTING ORDER - 5                  NORTHWEST IMMIGRANT RIGHTS PROJECT
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